Case 18-13335 Doc 18 Filed 12/18/18 Entered 12/18/18 10:07:44 Main Document Page 1 of 1

               United States Bankruptcy Court
                                Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                                 18-13335
239 DILTON ST                                                                              Chapter 13
NEW ORLEANS LA 70123                                                                        Section B



        EX PARTE MOTION TO WITHHOLD EARNINGS AND PAY TO TRUSTEE

NOW INTO COURT comes S.J. Beaulieu, Jr., Trustee, who respectfully states that the debtor, having
filed a petition in the United States Bankruptcy Court, governed by Chapter 13 of the United States
Bankruptcy Code, and having submitted all disposable earnings to the administration of the
above-cited trustee; the trustee respectfully prays that an order be directed to the employer of
EUGENE BARON SCHWING, JR.:


THIRD DIST FIRE DEPT
10415 JEFFERSON HWY
NEW ORLEANS LA 70123


directing it to deduct from the earnings of the debtor the sum of $2,050.00 MONTHLY (see formula
below to determine deduction per pay period) and be ordered to promptly remit the sums so

deducted, with the debtor's case number, 18-13335, printed on all checks or vouchers, to:


S. J. BEAULIEU, JR., TRUSTEE
P. O. BOX 113
MEMPHIS, TN 38101


(Divide monthly payment amount by pay period frequency)

Semi-monthly           2
Bi-weekly              2.1667
Weekly                 4.3333                                              /s/ S.J. Beaulieu, Jr.
                                                                           S.J. Beaulieu, Jr.
                                                                           Chapter 13 Trustee


Attorney for debtor:                                               C ERTIFIC ATE OF SERVIC E

                                                    I certify that this pleading was served by the court's
STEVEN J HUNTER                                     electronic filing system upon the debtor's attorney, and
                                                    by first class mail upon the debtor and the responding
                                                    employer, at the addresses listed herein.


                                                    Dec 18, 2018    by: /s/ Evelyn Anderson
